
717 S.E.2d 395 (2011)
Kizzy L. HUNTER
v.
R. Steve BOWDEN and Lawyers Mutual Liability Insurance.
Kizzy L. Hunter
v.
Jarvis T. Harris and Lawyers Mutual Liability Insurance.
No. 210P11.
Supreme Court of North Carolina.
August 25, 2011.
Kizzy L. Hunter, for Hunter, Kizzy L.
Joseph P. Booth, III, Greensboro, for Bowden, R. Steve, et al.

ORDER
Upon consideration of the petition filed on the 26th of May 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*396 "Denied by order of the Court in conference, this the 25th of August 2011."
JACKSON, J. recused.
